Case 5:20-cv-01551-SB-KK Document 33 Filed 04/26/21 Page 1 of 1 Page ID #:139
                                                                                                       April 26, 2021
                                                                                                             VPC
1
                                   UNITED STATES DISTRICT COURT                                                  JS-6
2
                                 CENTRAL DISTRICT OF CALIFORNIA
3
4
5      JAMES RUTHERFORD, an                                        Case No.: 5:20-cv-01551-SB-KK
       individual,
6
                           Plaintiff,                              ORDER FOR DISMISSAL WITH
7                                                                  PREJUDICE
8                 v.
9      WIENERSCHNITZEL, a business
       of unknown form; CORRIDOR
10     LAND COMPANY, a California
       corporation; TECOLOTE
11     RESOURCES, INC., a California
       corporation; and DOES 1-10,
12     inclusive,
13
                              Defendants.
14
15
16           Having considered the Parties’ stipulation, and good cause shown, IT IS
17   HEREBY ORDERED: that this case is Dismissed with prejudice. Each party to
18   bear its own costs and fees.
19
     IT IS SO ORDERED.
20
21
22   Dated: April 23, 2021                           _________________________________
23                                                   United States District Judge
24
25
26
27
28    _________________________________________________________________________________________________________________________

                           ORDER OF DISMISSAL WITH PREJUDICE
                                           1
